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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                         |
NIKE, INC.,                                              |    Civil Action No.: 1:22-cv-00983-VEC
                                 Plaintiff,              |
                                                         |
       v.                                                |
                                                         |
STOCKX LLC,                                              |
                                 Defendant.              |
                                                         |

     DECLARATION OF JEFFERY A. STEC, Ph.D. IN SUPPORT OF NIKE, INC.’S
              MOTION FOR PARTIAL SUMMARY JUDGMENT

       I, Jeffery A. Stec, Ph.D., declare as follows:

       1.      I am an adult person over twenty-one (21) years of age and am a Managing Director

with Berkeley Research Group as well as the leader of its Intellectual Property practice and co-

leader of its Economics and Damages community. I make this Declaration in support of plaintiff

Nike, Inc.’s (“Nike”) Motion for Partial Summary Judgment.

       2.      I was retained on behalf of Nike to act as an expert witness in this action. In that

capacity, I have rendered an Expert Report, dated June 2, 2023 (the “Stec Report”). Attached

hereto as Exhibit A is a true and correct copy of the Stec Report.

       3.      My opinions are truthfully and accurately stated in the Stec Report. I hereby

incorporate all of the opinions stated in the Stec Report as part of my testimony in this

Declaration.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on _______________ in ___________, _________.
                                      City         State


                                                      Jeffery A. Stec, Ph.D.
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